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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION

MAJORITY FORWARD; and GAMALIEL                *
WARREN TURNER, SR.,                           *
                                              *
      Plaintiffs,                             *
v.                                            *   Case No. 1:20-cv-00266-LAG
                                              *
                                              *
BEN HILL COUNTY BOARD OF                      *
ELECTIONS; CINDI DUNLAP, in her official      *
capacity as Ben Hill County Elections         *
Supervisor and Chief Registrar; THOMAS        *
GREEN, in his official capacity as MEMBER     *
of the Ben Hill County Board of Elections;    *
DAVID WALKER, in his official capacity as     *
MEMBER of the Ben Hill County Board of        *
Elections; DANNY YOUNG, in his official       *
capacity as MEMBER of the Ben Hill County     *
Board of Elections; GUNDRON MILLS, in his     *
official capacity as MEMBER of the Ben Hill   *
County Board of Elections; PENSON             *
KAMINSKY, in his official capacity as         *
MEMBER of the Ben Hill County Board of        *
Elections; MUSCOGEE COUNTY BOARD              *
OF ELECTIONS AND REGISTRATION;                *
NANCY BOREN, in her official capacity as      *
Muscogee County Director of Elections &       *
Registration; MARGARET JENKINS, in her        *
official capacity as MEMBER of the Muscogee   *
County Board of Elections and Registration;   *
UHLAND ROBERTS, in his official capacity      *
as MEMBER of the Muscogee County Board        *
of Elections and Registration; DIANE          *
SCRIMPSHIRE, in her official capacity as      *
MEMBER of the Muscogee County Board of        *
Elections and Registration; LINDA PARKER,     *
in her official capacity as MEMBER of the     *
Muscogee County Board of Elections and        *
Registration; and ELEANOR WHITE, in her       *
official capacity as MEMBER of the Muscogee   *
County Board of Elections and Registration,   *
                                              *
      Defendants.                             *
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              MEMORANDUM IN SUPPORT OF MOTION FOR RECUSAL

       COME NOW Defendants MUSCOGEE COUNTY BOARD OF ELECTIONS AND

REGISTRATION; NANCY BOREN, in her official capacity as Muscogee County Director of

Elections & Registration; MARGARET JENKINS, in her official capacity as MEMBER of the

Muscogee County Board of Elections and Registration; UHLAND ROBERTS, in his official

capacity as MEMBER of the Muscogee County Board of Elections and Registration; DIANE

SCRIMPSHIRE, in her official capacity as MEMBER of the Muscogee County Board of Elections

and Registration; LINDA PARKER, in her official capacity as MEMBER of the Muscogee County

Board of Elections and Registration; and ELEANOR WHITE, in her official capacity as

MEMBER of the Muscogee County Board of Elections and Registration (collectively, “Muscogee

County Defendants”), and, pursuant to 28 U.S.C. § 455, respectfully move that Judge Leslie

Abrams Gardner recuse herself from further participation in the above-captioned matter.


                                I. PRELIMINARY STATEMENT


       The Muscogee County Defendants respectfully acknowledge that this lawsuit was filed just

five days ago and one day before the Christmas holiday and that the Court may not have had time

to glean or assess the information provided below. However, given the emergency injunctive relief

sought by the Plaintiffs and the expedited hearing set for Wednesday, December 30, 2020, the

Muscogee County Defendants present the following and move in advance of the hearing to seek

the relief requested by this motion. 1




1
  A recusal motion must be brought “at the earliest possible moment after obtaining knowledge of
the facts demonstrating the basis for such a claim.” Gil Enters., Inc. v. Delvy, 79 F.3d 241, 247
(2d Cir.1996). A prompt application affords the district judge an opportunity to assess the merits
of the application before taking any further steps avoids the risk that a party is holding back a


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               II. INTRODUCTION AND RELEVANT FACTUAL HISTORY


       On December 14, 2020, pursuant to O.C.G.A. § 21-2-230(a), Ralph A. Russell, Jr., a

registered voter in Muscogee County, Georgia, challenged the qualifications of over 4,000

individuals on the Muscogee County voter list to vote in the Georgia Senate run-off election on

January 5, 2010. See Russell Challenge, a copy of which is attached as Exhibit A hereto. Russell

claimed to have evidence that the individuals he is challenging are not Georgia residents and

submitted a spreadsheet containing each individual’s voter registration number and demonstrating

that the challenged individuals simultaneously appear on both the Muscogee County voter

registration database and the National Change of Address Registry (“NCOAR”). See id.


       On December 16, 2020, pursuant to O.C.G.A. § 21-2-230(b), the Muscogee County Board

of Elections and Registration (“MCBER”) called a special meeting to consider whether probable

cause existed to sustain Russell’s challenge. At the hearing, the MCBER voted unanimously that

probable cause existed to sustain Russell’s challenge and implemented appropriate procedures to

ensure ballots cast in the upcoming run-off elections by individuals who have been challenged

would be provisional until Russell’s challenge can be fully adjudicated at a hearing. Individuals

who have been challenged will have an opportunity, but are not required, to present evidence

supporting their eligibility to vote in the run-off election. The MCBER will then decide whether

to count the ballots cast by individuals who have been challenged.


       On December 23, 2020, Plaintiffs Majority Forward, an alleged not-for-profit organization

claiming to support voter registration and turnout (see Complaint, ECF No. 1, at ¶8), and Muscogee




recusal application as a fall-back position in the event of adverse rulings on pending matters.
LoCascio v. U.S., 473 F.3d 493, 498 (2d Cir. 2007).


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County resident Gamaliel Warren Turner, Jr., filed the instant suit against the Muscogee County

Defendants seeking: (1) a declaration that the MCBER’s decision to entertain the challenge

violates Sections 8(c) and 8(d) of the National Voter Registration Act; (2) a declaration that the

MCBER’s decision to entertain the challenge and allegedly force voters to cast provisional ballots

or otherwise take additional steps to prove their qualifications burdens the right to vote in violation

of the First and Fourteenth Amendments to the Constitution of the United States; and (3) a

preliminarily and permanent injunction preventing the MCBER from removing any individuals

who have been challenged from the Muscogee County registration lists on the basis of NCOAR

data and from preventing any individuals who have been challenged from casting a regular ballot

in the January 5, 2021 runoff elections on the basis of NCOAR data. See Complaint, ECF No. 1,

at Prayer for Relief. 2 Plaintiffs allege that Russell’s challenge is part of “a well-publicized attack

on over 360,000 voters across the State of Georgia, initiated by True the Vote, a Texas-based

organization.” See id. at ¶1.


       The case was assigned to The Honorable Leslie Abrams Gardner. Judge Gardner is the

sister of Stacey Abrams, a Georgia politician and voting rights activist who was the Democratic

candidate in the 2018 Georgia gubernatorial election and has since engaged in various highly-

publicized efforts to increase voter registration and turnout for the 2020 general election in

Georgia. Abrams has also been prominently involved in litigation in Georgia alleging voter fraud,

voter suppression, and other electoral misconduct. Abrams founded Fair Fight, Inc. (“Fair Fight”),




2
  Plaintiffs also named the Ben Hill County Board of Elections and its five members (collectively,
“Ben Hill County Defendants”) attacking an entirely separate elector challenge filed by an
unnamed person. Joining the Muscogee County Defendants with the Ben Hill County Defendants
was inappropriate and unfair to the Muscogee County Defendants. A separate motion to sever and
transfer the claims to the Columbus Division of this Court is being filed.


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a political action committee that promotes voter registration and mobilization for young people

and people of color in Georgia. 3,4


       On December 23, 2020, the same date this lawsuit was filed, Fair Fight filed suit in United

States District Court for the Northern District of Georgia against True the Vote and several

individuals allegedly acting in concert therewith (the “Fair Fight Litigation”) seeking declaratory

and injunctive relief preventing voter challenges in each of Georgia’s 159 counties based on the

NCOAR. See Fair Fight, Inc., et al. v. True the Vote, et al., Case No. 2:20-mi-99999-UNA, Doc.

No. 231 (N.D. Ga. Dec. 23, 2020). This would include the Russell challenge to the extent Fair

Fight can prove -- as has been alleged -- that True the Vote is involved therewith.


       Lead counsel for Plaintiffs in the instant case are also counsel for Fair Fight in the Fair

Fight Litigation. In addition, any relief rendered in the instant case as it relates to the NCOAR

would likely be cited as persuasive authority in the Fair Fight Litigation. Abrams’ interest could

therefore be substantially affected by the outcome of this proceeding. For this reason, Judge

Gardner’s impartiality might reasonably be questioned were this case to proceed before her. The

Muscogee County Defendants respectfully request that Judge Gardner recuse herself from further

involvement in the present case.




3
 See https://fairfight.com/about-fair-fight/
4
 Abrams also founded New Georgia Project, which is dedicated to register and civically engage
Georgians.     See https://www.politico.com/news/2020/11/08/stacey-abrams-believers-georgia-
blue-434985; https://newgeorgiaproject.org/about/. The New Georgia Project has filed lawsuits
against the Georgia Secretary of State and various county election officials, alleging that these
officials employ illegal and discriminatory procedures that suppress votes, especially those of
minorities. See The New Georgia Project, et al. v. Raffensberger, et al., Case No. 1:20-cv-1986,
ECF No. 1 (N.D. Ga. 2020); Georgia Coalition for the Peoples’ Agenda, et al. v. Brian Kemp,
Case No. 1:18-cv-04727-ELR, ECF No. 1 (N.D. Ga. Oct. 11, 2018).


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                     III. ARGUMENT AND CITATION TO AUTHORITY


       Recusal of federal judges is governed by 28 U.S.C. § 455. A federal judge has an

affirmative obligation to disqualify herself if her “impartiality might reasonably be questioned,”

or where a judge “has a personal bias or prejudice concerning a party,” has participated as counsel

in the matter, or has a financial interest in the matter. 28 U.S.C. § 455(a), (b); U.S. v. Kelly, 888

F.2d 732, 744 (11th Cir. 1988). Recusal is appropriate absent evidence of actual bias where “[t]he

probability of actual bias on the part of the judge or decisionmaker is too high to be constitutionally

tolerable.” Caperton v. A.T. Massey Coal Co., Inc., 556 U.S. 868, 871 (2009)(quoting Withrow v.

Larkin, 421 U.S. 35, 47 (1975). A judge must also recuse herself where a person within the third

degree of relationship “is known by the judge to have a substantial interest that could be

substantially affected by the outcome of the proceeding.” 28 U.S.C. § 455(b)(5)(iii). The key

inquiry is “whether an objective, disinterested lay observer” knowing the grounds on which recusal

is sought “would entertain a significant doubt about the judge’s partiality.” Parker v. Connors

Steel Co., 855 F.2d 1510, 1524 (11th Cir. 1988). A federal judge is required “to resolve any doubts

they may have in favor of disqualification.” Kelly, 888 F.2d at 744.


       Abrams’ involvement in the Fair Fight Litigation, which involves allegedly identical issues

related to the NCOAR and overlapping counsel, is sufficient to satisfy the standard for mandatory

judicial recusal under 28 U.S.C. § 455. Abrams has a clear interest in the outcome of this

proceeding and other similarly situated litigation in Georgia due to her voting advocacy through

projects such as Fair Fight and the New Georgia Project. 5 Various national news outlets have


5
  Bill Barrow and Kat Stanford, Stacey Abrams credited for boosting Democrats in Georgia, AP
NEWS, Nov. 8, 2020, found at https://apnews.com/article/election-2020-joe-biden-stacey-
abrams-georgia-atlanta-1d265f35303be8ca59836a1a95018d82.         Similarly, NPR printed an
interview Abrams gave wherein Abrams claims that the New Georgia Project and her other


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reported on Abrams’ central involvement in voter registration drives in Georgia, which are the

very activities challenged by True the Vote and resulted in this lawsuit and the Fair Fight

Litigation. 6 The resolution of Plaintiffs’ claims in this case will bear directly on the outcome of

the ongoing Fair Fight Litigation, Abrams’ interests will necessarily be substantially affected and

clearly, a disinterested lay observer could entertain significant doubt about Judge Gardner’s

partiality under the circumstances. See Kelly, 888 F.2d at 745 (“it is enough that the average

layperson would have doubts about any judge’s impartiality under these circumstances.”)


       Therefore, 28 U.S.C. § 455 and applicable judicial precedent in this Circuit require that

Judge Gardner recuse herself from further participation in this proceeding.


                                       IV. CONCLUSION


       For the foregoing reasons, the Muscogee County Defendants respectfully request that the

Court inquire into and grant its Motion to recuse Judge Gardner from further participation in this

proceeding.




projects resulted in 800,000 new voters registering in Georgia for the 2020 general election. Mary
Louise Kelly, Former Georgia Gubernatorial Candidate on a Push for Voter Turnout, NPR, Nov.
2, 2020, found at https://www.npr.org/2020/11/02/930504055/former-georgia-gubernatorial-
candidate-on-a-push-for-voter-turnout.
6
  AP News noted that Abrams “has become perhaps the nation’s leading voice on voting rights”
and that “she raised millions of dollars to organize and register hundreds of thousands of voters.”
See             https://apnews.com/article/election-2020-joe-biden-stacey-abrams-georgia-atlanta-
1d265f35303be8ca59836a1a95018d82



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      This 28th day of December, 2020.

                                         PAGE, SCRANTOM, SPROUSE,
                                          TUCKER & FORD, P.C.

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                                 CERTIFICATE OF SERVICE

       I do hereby certify that on the date indicated below, I submitted the foregoing document to

the Clerk of Court using the CM/ECF system which will automatically send electronic mail

notification of such filing to all counsel of record, and by U.S. mail to the following:

                                          Marc E. Elias
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       This 28th day of December, 2020.


                                                      /s/ James C. Clark, Jr.
                                                      Counsel for Defendants




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